       Case 2:19-cv-05626-SPL Document 4 Filed 11/14/19 Page 1 of 12



 1
 2
 3
 4
 5
                            IN THE UNITED STATES DISTRICT COURT
 6
                                 FOR THE DISTRICT OF ARIZONA
 7
 8   In the matter of                   )
                                        )
 9   MANDATORY INITIAL                  )             NOTICE TO PARTIES -
     DISCOVERY PILOT PROJECT            )             MANDATORY INITIAL DISCOVERY
10                                      )             PILOT PROJECT
11                                      )

12
13          Effective May 1, 2017, this Court began participating in a Mandatory Initial
14   Discovery Pilot ("MIDP") project approved by the Judicial Conference of the United
15   States. This case is subject to the pilot project. The details of the MIDP are set forth in
16   General Order 17-08, a copy of which is attached. It is the responsibility of the parties to
17   read the General Order carefully to ensure familiarity and compliance with the
18   requirements.      Please note that the General Order was amended on November 1, 2018.
19   The amendment eliminates the MIDP’s previous requirement that parties file answers
20   even when certain motions have been filed under Federal Rule of Civil Procedure 12,
21   including Rule 12(b)(6).      Answers – which trigger the obligation to make MIDP
22   disclosures – are now due within the time specified in Rule 12(a).             A Checklist
23   summarizing the key features and deadlines of the MIDP is also attached to this Notice
24   for the parties’ convenience. Particular attention should be paid to the deadline for filing
25   the initial and supplemental MIDP responses. Any party seeking affirmative relief must
26   serve a copy of this Notice, including General Order 17-08 and the MIDP Checklist, on
27   each new party when the Complaint, Counterclaim, Crossclaim, or Third-Party
28   Complaint is served.
       Case 2:19-cv-05626-SPL Document 4 Filed 11/14/19 Page 2 of 12



 1
              During the Fed. R. Civ. P. 26(f) conference, parties must discuss the MIDP
 2
     responses and seek to resolve any limitations or objections they have made or intend to
 3
     make in their responses. A description of the discussion regarding the MIDP responses
 4
     must be included in the Rule 26(f) report to the Court.
 5
              MIDP responses are not required to be filed if the parties submit (and the Court
 6
     approves) a written stipulation by all parties that no discovery will be conducted in the
 7
     case. Similarly, a party may defer the submission of MIDP responses once for 30 days if
 8
     all parties file a notice with the Court certifying that they are attempting to settle the case
 9
     and have a good faith belief that it will be resolved within 30 days of the due date of the
10
     MIDP responses. The deadline for final supplementation of the MIDP responses normally
11
     will be stated in the Court's Case Management Order. If no deadline is stated, final
12
     supplementation must occur by the fact discovery deadline set in the Case Management
13
     Order.
14
              A notice must be filed with the Court when filing the MIDP responses and
15
     supplements, but there is no requirement to file the documents themselves, unless there is
16
     an unresolved dispute regarding the responses and supplements that the Court must
17
     resolve during the Rule 16(b)(1) conference.
18
              After the MIDP responses have been served, discovery under Fed. R. Civ. P. 30-
19
     36 and 45 may commence.
20
21
22
23
24
25
26
27
28


                                                  -2-
       Case 2:19-cv-05626-SPL Document 4 Filed 11/14/19 Page 3 of 12

                                                                X FILED    __LODGED
                                                                 __RECEIVED __COPY
1
                                                                   NOVEMBER 1, 2018
2
                                                                CLERK US DISTRICT COURT
3                                                                 DISTRICT OF ARIZONA

4                                                                BY s/ M. Everette DEPUTY

5
6                       IN THE UNITED STATES DISTRICT COURT
7                             FOR THE DISTRICT OF ARIZONA
8
9    In the matter of
10   MANDATORY INITIAL DISCOVERY
     PILOT PROJECT IN THE DISTRICT OF                  GENERAL ORDER 17-08
11   ARIZONA
12   (AS AMENDED NOVEMBER 1, 2018)
13          IT IS HEREBY ORDERED: Effective May 1, 2017, the United States District
14   Court for the District of Arizona will begin participation in a Mandatory Initial Discovery
15   Pilot Project approved by the Judicial Conference of the United States.
16          The Mandatory Initial Discovery Pilot Project applies to all civil cases filed on or
17   after May 1, 2017, other than cases listed in Rule 26(a)(1)(B), actions under the Private
18   Securities Litigation Reform Act (“PSLRA”), cases transferred for consolidated
19   administration in the District by the Judicial Panel on Multidistrict Litigation, and cases
20   under the 1980 Hague Convention on the Civil Aspects of International Child Abduction.
21   The discovery obligations addressed in this General Order supersede the disclosures
22   required by Rule 26(a)(1) and are framed as court-ordered mandatory initial discovery
23   pursuant to the Court’s inherent authority to manage cases, Rule 16(b)(3)(B)(ii), (iii), and
24   (vi), and Rule 26(b)(2)(C). Unlike initial disclosures required by current Rule 26(a)(1)(A)
25   & (C), this General Order does not allow the parties to opt out.
26   A.     Instructions to Parties.
27          1.     Any party seeking affirmative relief must serve a copy of the Notice to the
28   Parties of Mandatory Initial Discovery Pilot Project, including this General Order and the
       Case 2:19-cv-05626-SPL Document 4 Filed 11/14/19 Page 4 of 12



1    MIDP Checklist, on each new party when the Complaint, Counterclaim, Crossclaim, or
2    Third-Party Complaint is served.
3           2.     The parties to this litigation are ordered to provide mandatory initial
4    discovery responses before initiating any further discovery in this case. The responses are
5    called for by the Court, not by discovery requests actually served by an opposing party.
6    Part B of this order sets forth the categories of information that must be provided in each
7    party’s mandatory initial discovery responses. After the mandatory initial discovery
8    responses have been provided, additional discovery may proceed under the Federal Rules
9    of Civil Procedure and as set forth in a case management order to be entered by the Court.
10          3.     Each party’s response must be based on the information then reasonably
11   available to it. A party is not excused from providing its response because it has not fully
12   investigated the case, it challenges the sufficiency of another party’s response, or another
13   party has not provided a response. Responses must be signed under oath by the party,
14   certifying that it is complete and correct as of the time it was made based on the party’s
15   knowledge, information, and belief formed after a reasonable inquiry, and signed under
16   Rule 26(g) by the attorney.
17          4.     Parties must provide the requested information as to facts that are relevant to
18   the claims and defenses in the case, whether favorable or unfavorable, and regardless of
19   whether they intend to use the information in presenting their claims or defenses. The
20   parties also must provide relevant legal theories in response to paragraph B.4 below. If a
21   party limits the scope of its response on the basis of privilege or work product, the party
22   must produce a privilege log as required by Rule 26(b)(5) unless the parties agree or the
23   Court orders otherwise. If a party limits its response on the basis of any other objection,
24   including an objection that providing the required information would involve
25   disproportionate expense or burden, it must explain with particularity the nature of the
26   objection and its legal basis, and provide a fair description of the information being
27   withheld.
28


                                                 -2-
       Case 2:19-cv-05626-SPL Document 4 Filed 11/14/19 Page 5 of 12



1           5.     Parties must file answers, counterclaims, crossclaims, and replies within the
2    time set forth in Rule 12(a). Upon a showing that a defendant cannot reasonably respond
3    to a complaint within the time set forth in Rule 12(a), the court may, with or without
4    awaiting a response from the opposing party, grant a one-time extension of up to 30 days
5    to respond to the complaint.
6           6.     A party seeking affirmative relief must serve its responses to the mandatory
7    initial discovery no later than 30 days after the first pleading filed under Rule 12(a) in
8    response to its complaint, counterclaim, crossclaim, or third-party complaint. A party
9    filing a responsive pleading, whether or not it also seeks affirmative relief, must serve its
10   initial discovery responses no later than 30 days after it files its responsive pleading under
11   Rule 12(a). In cases removed from state court, the responses must be filed within 30 days
12   of removal if a responsive pleading was filed in state court before removal, and within 30
13   days of the response date set in Rule 81(c)(2) if a responsive pleading was not filed in state
14   court before removal. In all cases, (a) no initial discovery responses need be served if the
15   Court approves a written stipulation by the parties that no discovery will be conducted in
16   the case; or (b) initial discovery responses may be deferred, one time, for 30 days if the
17   parties jointly certify to the Court that they are seeking to settle the case and have a good
18   faith belief that it will be resolved within 30 days of the due date for their responses, and
19   the Court approves the deferral.
20          7.     Unless the Court orders otherwise, initial responses and later supplements
21   shall not be filed with the Court, but Parties shall file a notice of service of their initial
22   responses and later supplements.
23          8.     The duty to provide mandatory initial discovery responses set forth in this
24   order is a continuing duty, and each party must serve supplemental responses when new or
25   additional information is discovered or revealed. A party must serve such supplemental
26   responses in a timely manner, but in any event no later than 30 days after the information
27   is discovered by or revealed to the party. The Court normally will set a deadline in its Rule
28   16(b) case management order for final supplementation of responses, and full and complete


                                                 -3-
       Case 2:19-cv-05626-SPL Document 4 Filed 11/14/19 Page 6 of 12



1    supplementation must occur by the deadline. If the Court fails to set a deadline, final
2    supplementation must occur by the fact discovery deadline set by the Court in its case
3    management order. If new information is revealed in a written discovery response or a
4    deposition in a manner that reasonably informs all parties of the information, the
5    information need not be presented in a supplemental response.
6             9.    Parties should include in the Rule 26(f) report to the Court a concise
7    description of their discussions of the mandatory initial discovery responses. The report
8    should also include a concise description of the resolution of any limitations invoked by
9    any party in its response, as well as any existing disagreements requiring resolution by the
10   court. The parties shall attach the initial and supplemental responses and any other
11   discovery requests, objections, and responses involved in any existing disagreements.
12   During the Rule 26(f) conference, parties should discuss the mandatory initial discovery
13   responses and seek to resolve any limitations they have made or intend to make.
14            10.   Production of information under this General Order does not constitute an
15   admission that information is relevant, authentic, or admissible.
16            11.   Rule 37(b)(2) shall apply to mandatory discovery responses required by this
17   order.
18   B.       Mandatory Initial Discovery Requests.
19            The parties must respond to the following Court-issued discovery requests without
20   awaiting discovery requests from the opposing parties, and at the times set forth above.
21            1.    State the names and, if known, the addresses and telephone numbers of all
22   persons who you believe are likely to have discoverable information relevant to any party’s
23   claims or defenses, and provide a fair description of the nature of the information each such
24   person is believed to possess.
25            2.    State the names and, if known, the addresses and telephone numbers of all
26   persons who you believe have given written or recorded statements relevant to any party’s
27   claims or defenses. Unless you assert a privilege or work product protection against
28   disclosure under applicable law, attach a copy of each such statement if it is in your


                                                 -4-
       Case 2:19-cv-05626-SPL Document 4 Filed 11/14/19 Page 7 of 12



1    possession, custody, or control. If not in your possession, custody, or control, state the
2    name and, if known, the address and telephone number of each person who you believe
3    has custody of a copy.
4             3.   List the documents, electronically stored information (“ESI”), tangible
5    things, land, or other property known by you to exist, whether or not in your possession,
6    custody or control, that you believe may be relevant to any party’s claims or defenses. To
7    the extent the volume of any such materials makes listing them individually impracticable,
8    you may group similar documents or ESI into categories and describe the specific
9    categories with particularity. Include in your response the names and, if known, the
10   addresses and telephone numbers of the custodians of the documents, ESI, or tangible
11   things, land, or other property that are not in your possession, custody, or control. For
12   documents and tangible things in your possession, custody, or control, you may produce
13   them with your response, or make them available for inspection on the date of the response,
14   instead of listing them. Production of ESI will occur in accordance with paragraph C.2
15   below.
16            4.   For each of your claims or defenses, state the facts relevant to it and the legal
17   theories upon which it is based.
18            5.   Provide a computation of each category of damages claimed by you, and a
19   description of the documents or other evidentiary material on which it is based, including
20   materials bearing on the nature and extent of the injuries suffered. You may produce the
21   documents or other evidentiary materials with your response instead of describing them.
22            6.   Specifically identify and describe any insurance or other agreement under
23   which an insurance business or other person or entity may be liable to satisfy all or part of
24   a possible judgment in the action or to indemnify or reimburse a party for payments made
25   by the party to satisfy the judgment. You may produce a copy of the agreement with your
26   response instead of describing it.
27            7.   A party receiving the list described in Paragraph 3, the description of
28   materials identified in Paragraph 5, or a description of agreements referred to in Paragraph


                                                 -5-
       Case 2:19-cv-05626-SPL Document 4 Filed 11/14/19 Page 8 of 12



1    6 may request more detailed or thorough responses to these mandatory discovery requests
2    if it believes the responses are deficient. A party may also serve requests pursuant to Rule
3    34 to inspect, copy, test, or sample any or all of the listed or described items, to the extent
4    not already produced in response to these mandatory discovery requests, or to enter onto
5    designated land or other property identified or described.
6    C.     Disclosure of Hard-Copy Documents and ESI.
7           1.     Hard-Copy Documents. Hard-copy documents must be produced as they are
8    kept in the usual course of business.
9           2.     Electronically Stored Information (ESI).
10                 a.     Duty to Confer. When the existence of ESI is disclosed or discovered,
11                 the parties must promptly confer and attempt to agree on matters relating to
12                 its disclosure and production, including:
13                        i.      requirements and limits on the preservation, disclosure, and
14                        production of ESI;
15                        ii.     appropriate ESI searches, including custodians and search
16                        terms, or other use of technology assisted review; and
17                        iii.    the form in which the ESI will be produced.
18                 b.     Resolution of Disputes. If the parties are unable to resolve any dispute
19                 regarding ESI and seek resolution from the Court, they must present the
20                 dispute in a single joint motion or, if the Court directs, in a conference call
21                 with the Court. Any joint motion must include the parties’ positions and the
22                 separate certification of counsel required under Rule 26(g).
23                 c.     Production of ESI. Unless the Court orders otherwise, a party must
24                 produce the ESI identified under paragraph B.3 within 40 days after serving
25                 its initial response. Absent good cause, no party need produce ESI in more
26                 than one form.
27                 d.     Presumptive Form of Production. Unless the parties agree or the
28                 Court orders otherwise, a party must produce ESI in the form requested by


                                                  -6-
     Case 2:19-cv-05626-SPL Document 4 Filed 11/14/19 Page 9 of 12



1              the receiving party. If the receiving party does not specify a form, the
2              producing party may produce the ESI in any reasonably usable form that will
3              enable the receiving party to have the same ability to access, search, and
4              display the ESI as the producing party.
5        DATED this 1st day of November, 2018.
6
7
8
9
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28


                                            -7-
         Case 2:19-cv-05626-SPL Document 4 Filed 11/14/19 Page 10 of 12



                 MANDATORY INITIAL DISCOVERY PILOT PROJECT
                                         CHECKLIST

   Applicability of the MIDP Project General Order:

     o    Is this a civil case filed prior to May 1, 2017?
     o    Is the proceeding exempt from initial disclosure under Rule 26(a)(1)(B)?
     o    Is this an action under the Private Securities Litigation Reform Act?
     o    Was the case transferred for consolidation by the MDL panel?

                 If the answer is ‘yes’ to any of these questions, the case is not subject to the
                  MIDP.

   Rule 26(f) Conference:

     o The parties must discuss the mandatory initial discovery responses, which probably
       will have been made by the time of the conference, and seek to resolve any
       disagreements on the scope of their responses.

     o The parties should include a description of their discussions, including resolved and
       unresolved disagreements or other discovery issues, in their Rule 26(f) report to the
       Court.

                 Parties must file the Rule 26(f) report in the CM/ECF system using the Rule
                  26(f) Report re MIDP event under the “MIDP Filings” category.

   Responsive Pleadings [answer/counterclaim/crossclaim/reply]:

     o Must be filed within the time set in Rule 12(a).

                      Exception: Upon a showing that a defendant cannot reasonably respond
                  to a complaint within the time set forth in Rule 12(a), the court may, with or
                  without awaiting a response from the opposing party, grant a one-time
                  extension of up to 30 days to respond to the complaint.

   Initial Discovery Responses:

     o Party seeking affirmative relief: must serve its initial discovery responses and file a
       notice of service with the Court within 30 days after the first responsive pleading filed
       in response to its complaint, counterclaim, crossclaim, or third-party complaint.

                 Parties must file the notice of service in the CM/ECF system using the Notice
                  of Service of Mandatory Initial Discovery Responses event under the “MIDP
                  Filings” category.




                                                 1
 Case 2:19-cv-05626-SPL Document 4 Filed 11/14/19 Page 11 of 12



o Party filing a responsive pleading: must serve its initial discovery responses and file a
  notice of service with the Court within 30 days after it files its responsive pleading.

          Parties must file the notice of service in the CM/ECF system using the Notice
           of Service of Mandatory Initial Discovery Responses event under the “MIDP
           Filings” category.

               Exceptions: No discovery responses required if the Court approves a
               written stipulation by the parties that no discovery will be conducted in the
               case.

               Deadline for serving initial discovery responses may be deferred once for
               30 days if the parties jointly certify to the Court that they are seeking to
               settle the case and have a good faith belief that it will be resolved within
               30 days of the due date for their responses.



o Initial responses and later supplements will not be filed with the Court on the date
  they are served, but a notice of service must be filed with the Court.

          Parties must file the notice of service for initial responses in the CM/ECF
           system using the Notice of Service of Mandatory Initial Discovery Responses
           event under the “MIDP Filings” category.

          Parties must file the notice of service for supplements in the CM/ECF system
           using the Notice of Service of Supplemental Mandatory Initial Discovery
           Responses event under the “MIDP Filings” category.

               Exception: Parties must file initial responses and later supplements with
               their 26(f) report or discovery dispute filings if there is an unresolved
               dispute regarding the responses or supplements that the Court must
               resolve.

o Responses must be signed by the party, under oath, and by counsel under Rule 26(g).

o Limitations to scope of initial response asserted by the parties:

          If based on a claim of privilege or work product, the party must produce a
           privilege log under Rule 26(b)(5).

               Exception: No privilege log required if the parties agree or the Court
               orders otherwise.




                                         2
       Case 2:19-cv-05626-SPL Document 4 Filed 11/14/19 Page 12 of 12



               If based on any other objection, the party’s response must explain with
                particularity the nature of the objection and provide a fair description of the
                information withheld.

   Electronically Stored Information (ESI):

     o If the existence of ESI is disclosed or discovered, the parties must confer and address
       the issues listed in ¶ (C)(2)(a)(i)-(iii) of the General Order.

     o The party must produce its ESI within 40 days after serving its initial response (unless
       modified by the court).

               ESI must be produced in the form requested by the receiving party, or if no
                form is specified, in any reasonable form that will enable the receiving party
                to access, search, and display the ESI.

   Rule 16 Conference and Case Management Order:

     o Rule 16 conference should be held within the time specified in Rule 16(b)(2) (as soon
       as possible but not later than the earlier of 90 days after any party has been served or
       60 days after appearance by any party).

     o Case management order should set deadline for final supplementation of responses.

               If the Court fails to set a deadline, final supplementation must occur by the
                fact discovery deadline set by the Court in its case management order.
           
   Supplemental Responses:

     o Must be served in a timely manner, and no later than 30 days after the information is
       discovered or revealed. If new information is revealed in a written discovery
       response or a deposition in a manner that reasonably informs all parties of the
       information, the information need not be presented in a supplemental response. A
       notice of service must be filed when a supplemental response is served.




                                             3
